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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA
                                            No. 14 CR 384
             v.
                                            Judge Ronald A. Guzman
AUBREY BURKS, et al.

     ADDENDUM TO PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d) and

18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

     1.      Certain materials to be disclosed by the government contain

particularly sensitive information related to the investigation that led to the

charges in this case. These materials shall be plainly marked as “Sensitive/Attorney

Copy Only” by the government prior to disclosure. The government shall limit the

materials to be labeled in this manner to only those that contain information that, if

inappropriately used or disclosed, could jeopardize the safety of witnesses.

     2.      The materials marked as “Sensitive/Attorney Copy Only,” and the

information contained therein, shall be maintained by defendants’ attorneys and no

originals or copies of the materials or the contents of the materials shall be provided

to defendants.        This addendum does not restrict defendants’ attorneys from

reviewing the materials and the information contained therein with defendants and

“authorized persons.” The term “authorized persons” as used herein is defined by

the protective order governing discovery in this case issued August 28, 2014 (“the

protective order”).
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     3.      Defendants’ counsel shall not copy or reproduce the materials marked

as “Sensitive/Attorney Copy Only” except in order to provide copies of the materials

for use in connection with this case to defendants’ counsel.       Such copies and

reproductions shall be treated in the same manner as the original materials.

     4.      In addition, the materials marked as “Sensitive/Attorney Copy Only,”

and the information contained therein, may not be disclosed to any persons other

than defendants, counsel for defendants, persons employed to assist the defense, or

the person to whom the sensitive information solely and directly pertains, without

prior notice to the government and authorization from the Court. Absent prior

permission from the Court, information contained in materials marked as

“Sensitive/Attorney Copy Only” shall not be included in any public filing with the

Court, and instead shall be submitted under seal.

     5.      Defendants, defendants’ counsel, and “authorized persons” shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials marked as “Sensitive/Attorney Copy Only”, other than to

“authorized persons,” and all such notes or records are to be treated in the same

manner as the original materials.

     6.      The handling of the materials marked as “Sensitive/Attorney Copy

Only” shall otherwise be governed by the provisions of the protective order.

     7.      Upon conclusion of all stages of this case, the materials marked as

“Sensitive/Attorney Copy Only” shall be disposed of in a manner consistent with the

provisions of the protective order.

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     8.      The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

information contained in materials marked as “Sensitive/Attorney Copy Only” as

described in Paragraph 1, above, shall be filed under seal to the extent necessary to

protect such information, absent prior permission from this Court.

     9.      Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.

                                        ENTER:


                                        RONALD A. GUZMAN
                                        District Judge
                                        United States District Court
                                        Northern District of Illinois

Date: January 22, 2015




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